lN THE UN!TED STATES DlSTR{CT COURT
FOR THE NllDDLE DlSTRiCT OF TENNESSEE

 

FIREMAN’S FUND iNSURANCE
CONlPANY, a California corporation,

Plaintiff,

vs. Civi| Action No.:

ENSURANCE COMPANY, a
N|innesota corporation; and
TRAVELERS INDEN|NITY
COMPANY, a Connecticut
corporation,

)
)
)
)
)
§
ST. PAUL FERE AND MAR|NE ) Judge:
)
) Nlagistrate Judge:
)
)
l
)
l

Defendants.

 

COMPLAINT

 

Plaintitf, Fireman’s Fund insurance Company, asserts claims against
Detendants, ST. PAUL FIRE AND MAR!NE lNSURANCE COIVEPANY and TRAVELERS
lNDEMN|TY CO|V|PANY, as follows:

PARTIES

t. Plaintitf Fireman’s Fund insurance Company (hereinafter “Fireman’s
Fund") is, and at alt relevant times was, a Ca|ifornia corporation and an insurer
authorized to transact insurance business in the State of Tennessee.

2. Defendant St. Paul Fire and lV|arine insurance Company (hereinafter “St.
Paul") is, and at all relevant times Was, a lVlinnesota corporation. Fireman’s Fund is

informed and bet§eves that, at all relevant times, St. Pau| was authorized to, and did,

FF Sugar t.and DJ Comp|aint 120816
0116124¢'@ase 3:12-cv-00851 Document 1 Filed 08/17/12 Page 1 of 7 Page|D #: 1

 

transact business in the State of Tennessee and was subject to service under the State
of Tennessee's iong arm statute.

3. Defendant Trave|ers indemnity Company (hereinatter “Trave|ers”) is1 and
at all relevant times was, a Connecticut corporation Fireman’s Fund is informed and
believes that, at all relevant times, Trave|ers was authorized to, and did, transact
business in the State of Tennessee and was subject to service under the State of
Tennessee’s long arm statute.

JUR|SD|CTiON AND VENUE

4. Firernan’s Fund is a corporation duly organized and existing under the

iaws of the State of Califcrnia, with its principal place of business in the State of
' Caiifornia.

5. St. Paul is a corporation duly organized and existing under the laws of the
State of lVlinnesota, with its principal place of business in the State of Nlinnesota.

6. Trave|ers is a corporation duty organized and existing under the laws of
the State of Connecticut, with its principal place of business in the State of Connecticut.

7. This Court has subject matterjurlsdiction under 28 U.S.C. § 1332 because
this is a civil action seeking a determination of liabiiity under a contract wherein the
potential liability exceeds the sum of $75,000, exclusive of interests and costs, and is
between citizens of different states

8, The United States District Court for the l\/lidd|e District of Tennessee is the

proper venue for this action under 28 U.S.C. § 'i391(b) and (c) and 28 U.S.C. § 123(b).

FF Sugar t_and DJ Compiaint 120816 2
0116 12427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 2 of 7 PagelD #: 2

 

GENERAL ALLEGAT|ONS

9. Lucky Star, inc., dib/a Sugariand, inc., is a Tennessee corporation that
does business as the country/pop band known as Sugariand. (“Sugar!and"). Fireman’s
Fund issued a Portfoiio Po|icy to Sugarland in connection with “The incredible Niachine”
Tour in 2011 (the “Sugarland Po|icy").

10. Steven Cohen Productions, l_td. ("SCP") is a Nevada Corporation in the
business of providing specialized equipment and trained personnei to the music industry
for live concern productions SCP provided services and equipment to Sugar|and in
connection with its 201’| tour. The equipment that SCP provided for the tour included
video screens, cameras, with operators1 and lights and lighting equipment with
operators Fireman’s Fund is informed and believes and based thereon alleged, that
Trave|ers and/or St. Paui issued an insurance policy that covered direct physical ioss or
damage to any equipment that SCP provided in connection with the tour.

11. Epic Lighting (“Epic”) is an unknown business entity that subcontracted
with SCP to provide the lighting equipment and personnel that SCP supplied to the tour.
Firernan’s Fund is informed and beiieves, and based thereon aileges, that Trave|ers
andlor St. Pau| issued a separate insurance policy that covered direct physical ioss or
damage to any equipment that Epic provided in connection with the tour.

12. SCP designed and provided, through Epic, iighting gear, much of which
also was hung on the stage structure

13. On August 13, 0211, Sugariand was about to go on stage for a concert at

the indiana State Fairgrounds in indianapolis Because a lightning storm Was thought to

FF Sugar i_and DJ Cornplaint 120816 3
0116 12427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 3 of 7 PagelD #: 3

 

be moving into the area, the concert was delayed During the delay, amid gusting
winds, the stage collapsed

14. Equipment that SCP and Epic provided for the tour was destroyed in the
stage collapse SCP and Epic subsequently made an insurance claim to Trave|ers
and/or St. Paul for the damaged equipment that they provided

15. Firernan's Fund is informed and believes and based thereon alleged that
Trave|ers and/or St. Paul paid a total ot $1,919,716.28 for ioss of equipment belonging
to SCl° and Epic. Fireman’s Fund is informed and beiieves, and based thereon alleges
that Trave|ers and/or St. Paul paid $1,821,094.57 to Epic under its policy and
$98,621,71 to SCF’ under its policy.

16. The damaged equipment that SCP provided for the concert, including
equipment supplied Epic, was scheduled on the Commercial Artic|es Floater of the
Sugarland Policy. SCP is a loss payee under the Sugarland Policy. Fireman’s Fund is
informed and beiieves, and based thereon aileges, that the equipment was also
scheduied on the policies that Traveiers and/or St. Pau| issued to SCP and Epic.

17. Trave|ers and/or St. Paui have made a demand on Fireman’s Fund to pay
for the damaged equipment pursuant under the Sugarland Policy.

18. The Sugarland Policy was issued in Tennessee and is governed by
Tennessee |aw. The Sugariand Policy states:

Other insurance

The coverage provided by this policy shall apply only as excess insurance

over any other valid and coilectibie insurance or coverage that appiies to
the covered property.

FF Sugar Land DJ Complaint 1208?6 4
0116 12427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 4 of 7 PagelD #: 4

 

19. Fireman’s Fund is informed and believes and based thereon aileges, that
the insurance policy Traveters and/or St. Paui issued to SCP contains an “Other
insurance" provision that makes the poiicy’s coverage primary over any other vaiid and
coilectibie insurance, including Fireman’s Fund’s policy.

20. Fireman’s Fund is informed and believes, and based thereon alteges, that
the insurance policy Traveiers and/or St, Paul issued to Epic contains an “Other
insurance” provision that makes that poiicy’s coverage primary over any other valid and
collectible insurance, including Fireman’s Fund’s policy.

FiRST CLA|Ni FOR DECLARATORY RELiEF
(Against Aii Defendants)

21. Fireman’s Fund re-aiieges and incorporates by reference paragraphs 1-19
of the Comp|aint, as though fully set forth herein.

22. An actual controversy has arisen and now exists between Fireman’s Fund,
on the one hand, and Trave|ers and/or St. Pau|, on the other, concerning their
respective rights and obiigations under the insurance poiicies issued to Sugarland, SCP
and Epic. Fireman’s Fund alleges that the Sugarland Policy is excess only and,
therefore, it has not obligation under the poiicy to pay for any loss or damage to SCP’s
or Epic’s equipment untii the applicable limits of the Trave|ers’ and/or St. Paul policies
are exhausted Trave|ers and/or St. Paui dispute Fireman’s Fund’s position and
maintains that Fireman’s Fund’s obiigations under the Sugarland Policy are primary and
that it must pay for any loss or damage to the equipment, irrespective of the “Other

|nsurance" provisions in the parties’ poiicies

FF Sugar Land DJ Complaint 120816 5
0116 12427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 5 of 7 PagelD #: 5

 

23. Fireman’s Fund seeks a judicial determination of the parties’ respective
rights and obiigations under the poiicies and a declaratory judgment that the Sugarland
Policy is excess over the coverage afforded under the Traveiers and/or St. Paul policies
issued to SCP and Epic and, that therefore, Fireman’s Fund has no obligation to make
any payments under the Sugarland Policy for the damaged equipment uniess and until
the applicabie limits of Traveters’ and/or St. Paul’s policies are exhausted

24. in the alternative Fireman’s Fund seeks a judicial determination that
coverage under the Sugarland Poiicy must be equitably pro-rated taking into account
the applicable limits and coverage afforded under Trave|ers’ and/or St. Paul’s policies

PRAYER FOR RELiEF

WHEREl-"ORE, plaintiff Fireman’s Fund demands judgment against defendants
Traveiers and St. Paul as foilovvs:

'i. For a declaratory judgment that the Sugarland Policy is excess over the
coverage afforded under Trave|ers’ and/or St. Paul’s policies issued to SCP and Epic
and that Fireman’s Fund has no obligation to pay for any loss or damage to the SCP’s
or Epic’s equipment untii Traveiers’ and/or St. Paul’s policies are exhausted in the
alternative, Fireman’s Fund seeks a declaratory judgment that that coverage under the
Sugarland Policy must be equitany pro-rated taking into account the applicable timits

and coverage afforded under Trave|ers' and/or St. Paui's policies;

2. For interest and costs of suit as allowed by law; and
3. For such other reiief as the court deems proper.

FF Sugar i_and DJ Ccmpiaint 120816 6

011612427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 6 of 7 PagelD #: 6

 

Respectfu||y submitted

s/Gordon C. Auiqur
GORDON C. AULGUR
Registration No. 19953
Attorney for Piaintiff

BREWER KRAUSE BROOKS
CHASTAIN & BURROW, PLLC
611 Commerce Street, Suite 2800
P.O. Box 23890

Nashviiie, TN 37202-3890

(615) 256-8787

FF Sugar i_and DJ Ccmpiaini 120816 7
0116 12427

Case 3:12-cv-00851 Document 1 Fiied 08/17/12 Page 7 of 7 PagelD #: 7

 

